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UNITED STATES COURT OF APPEALS
FOR THE NINTH CIRCUIT

Form 32. Response to Notice of Case Being Considered for Oral Argument

Instructions for this form: http:/vww.ca9.uscourts. gov/forms/form32instructions.pdf

 

 

9th Cir. Case Number(s) |Case No. 20-71765 (L)

 

 

 

Case Name |League of Cal. Cities, et al. v. FCC et al.

 

 

 

Hearing Location (city) |San Francisco

 

 

 

Your Name [Robert C. May II

 

List the sitting dates for the three sitting months you were asked to review:
July 10-14 and 17-21; August 14-18 and 21-25; September 11-15.

 

 

 

 

Do you have an unresolvable conflict on any of the above dates? C Yes © No

If yes, list the specific day(s) and the specific reason(s) you are unavailable:
July 14, 2023, through July 17, 2023 (unavoidable travel)

 

 

 

 

Do you have any other cases pending in this court for which you received a notice
of consideration for oral argument during the three sitting months listed above?

© Yes @© No

If yes, list the number, name, and hearing city of each of the other case(s):

 

 

 

 

 

 

 

 

Signature |s/Robert C. May III Date {03/30/2023

(use “s/[typed name]” fo sign electronically-filed documents)

 

 

 

 

Feedback or questions about this form? Email us at forms@ca9.uscourts. gov

 

Form 32 New 12/01/2018
